                                                                   United States District Court
                                                                     Southern District of Texas

                                                                        ENTERED
                                                                        July 23, 2024
                    UNITED STATES DISTRICT COURT
                                                                     Nathan Ochsner, Clerk
                     SOUTHERN DISTRICT OF TEXAS
                        GALVESTON DIVISION

BRIANNE DRESSEN, et al.,              §
                                      §
      Plaintiffs,                     §
                                      §
VS.                                   §             3:23-cv-155
                                      §
ROBERT FLAHERTY, et al.,              §
                                      §
      Defendants.                     §

                                  ORDER
      Before the court is the parties’ joint motion to enter scheduling order,
vacate the initial conference, and stay discovery. Dkt. 39. The motion is
granted.
      It is ordered that (1) the plaintiffs shall file their amended complaint
by September 12, 2024; (2) the defendants shall file their responses /
dispositive motions in response to the amended complaint by October 17,
2024; (3) the plaintiffs shall file their responses to any dispositive motions
by November 15, 2024; and (4) the defendants shall file their replies to any
responses by December 5, 2024.
      It is further ordered that the initial conference scheduled for July 24,
2024, is vacated, and that discovery in this matter is stayed until the
defendants’ dispositive motions are resolved.
      Signed on Galveston Island this 23rd day of July, 2024.



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                                       JEFFREY VINCENT BROWN
                                       UNITED STATES DISTRICT JUDGE
